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                         EXHIBIT 1
Case 2:22-cv-00232-JRG Document 317-2 Filed 01/25/24 Page 2 of 2 PageID #: 28031
                                                                   WEI “Vivan” JOSH, MLCI, CCI
                                                                  Master Licensed Court Interpreter
                                                                  Plano, TX 75024
                                                                  Cell: (214) 215-5228
 SUMMARY OF QUALIFICATIONS:                                       Email: Vivan@vjcts.com

     •   TEXAS State Master Licensed Court Interpreter
     •   OKLAHOMA State Certified Courtroom Interpreter
     •   CALIFORNIA State Certified Court Interpreter
     •   ILLINOIS State Certified Court Interpreter
     •   FLORIDA State Certified Court Interpreter
     •   LOUISIANA State Certified Court Interpreter
     •   U. S. Federal Courts Approved Court Interpreter
     •   Contract Interpreter with U. S. Federal Courts / Department of Justice / Federal Public
         Defender’s Office / State Courts

 A talented and highly requested Mandarin Interpreter with abundant litigation experience in language
 interpretation for Mandarin /Chinese (Native tongue) and English;

 For the past 15+ years, I have been performing on a daily basis a wide variety of legal interpretation
 services. I have an abundance of experience interpreting for bench trials, jury trials, arbitrations,
 depositions ranging from individuals to large multinational corporations, covering criminal law, torts
 litigation, civil/commercial litigation, family law, employment law, intellectual property infringement
 litigation, anti-trust and federal & state criminal investigations.

 I also have a/an:
      • Intimate familiarity with both cultures
      • Profound ability to express thoughts clearly and concisely
      • Extensive legal and general vocabulary in both languages
      • Excellent verbal and written communication skills in both languages
      • Abundant experience in both consecutive and simultaneous modes of interpretation

 EXPERIENCE HIGHLIGHTS:

     •   Environmental Crimes / EPA/ Antiques/ Endangered Species Smuggling/ Human Trafficking
     •   U. S. Export Restriction & Compliance Matters
     •   Patented Technologies IP Law Depositions / Jury Trials
     •   Copyright, Trademarks, and Trade Secrets Depositions / Jury Trials
     •   337 Investigations and Hearings before ITC
     •   Arbitration Tribunal Hearings (AAA & JAMS)
     •   Federal Criminal Law Jury Trials
     •   State Criminal Jury Trials / Bench Trials
     •   Family Law Jury/ Bench Trials
     •   Employment Law Jury Trials
     •   Personal Injury Torts Law Jury Trials
     •   Civil/ Commercial Law Jury Trials

 EDUCATION:

     •   Guangdong University of Foreign Studies, China – Faculty of English Language and Culture

 PROFESSIONAL MEMBERSHIPS:

     •   National Association of Judiciary Interpreters & Translators
     •   Texas Association of Judiciary Interpreters & Translators
     •   American Translators Association -Voting Member
